Case 2:04-cr-20293-.]PI\/| Document 42 Filed 07/22/05 Page 1 of 3 Page|D 61

IN THE UNITED STATES DISTRICT coURT `F"‘E° BY ~»Q.... D.C.
FOR THE wESTERN D:STRICT oF TENNESSEE
wESTERN DIvIsIoN 05 JUL 22 PH l: 53

 

UNITED STATES OF AMERICA
Plaintiff,

V.

in 16 JBEL//_

criminal NO .U 26267;11

(90-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Aot through November 18, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

This document entered on the docket sheet in compliance

warn ama 55 arm/or 32{b) mch on Z“QQ~QL§

 

Case 2:04-cr-20293-.]PI\/| Document 42 Filed 07/22/05 Page 2 of 3 Page|D 62

so oRDERED this 22nd day of July, 2005.

Q m“O&Q

JO PI-IIPPS MCCALLA
'I'ED STA'I`ES DISTRIC'I` JUDGE

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y §

Assistant United States Attorney

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Counsel for Defendant(s)

   

UNITED sTATE DISTRIC COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:04-CR-20293 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

